Case 1:08-cr-00131-LMB Document 179 Filed 08/27/14 Page 1 of 1 PageID# 2445
                                                 Rev. Dr. Warren ciark


                                                 Tampa, FL 33617
                                                 January 7,2009

    Judge Leonie Brinkema
    Albert V. Bryan U.S. Courthouse
    401 Courthouse Square
    Alexandria, VA 22314

    Dear Judge Brinkema:

    Dr. Sami AlArian led people in his mosque to join H.O.P.E., Hillsborough Organization for
    Progress and Equality. H.O.P.E. is an organization of about twenty religious congregations
    (almost all other being Christian) that work together for basic social and economic justice
    here in Tampa. That's where I got to know him before he was arrested. When Attorney
    General John Ashcroft proclaimed on national news that the Justice Department had
    arrested the head of Palestinian Islamic Jihad in North America, I didn't know what to
    think. It did not seem to match the colleague I knew. I have to admit I was at first afraid to
    publically stand up on his behalf. About a year later Dr. AlArian was moved to the
    Hillsborough County Jail to await trial. By then I was less intimidated. I asked myself what
    can I do as a pastor? And the words, "I was in prison and you visited me", came o ind. So, I
    began visiting him every week for the IS months he was held here. On most visits I invited
    clergy from many different faith groups to visit with me. In that period of time I got to
    know Dr. AlAian pretty well. I was not surprised when the jury, after a six month trial,
    unanimously voted not guilty on all violence-related charges. The jury voted not guilty ten
    to two on the other counts.


    I listened after the trial as Dr. AlArian agonized about whether to plead on some of the
    remaining counts. He did not want to let those who had supported him down. He
    adamantly refused to plead to anything he had not done. But his family was exhausted, and
    so were his financial resources. The things he pled to were incredibly minor compared to
    the initial charges lodged on national television.

    I have watched in dismay as the justice system has been distorted by misuse of the grand
    jury process. I am no lawyer, just a pastor, but I can see when the jury system is being
    thwarted. That is a powerful and dangerous assault on our basic liberties that go all the
    way back to Saxon law.

    So, as a pastor, I urge you to exercise mercy. It is time for him to be set free. As a citizen I
    very much hope you will consider the implications of extending jail time indefinitely by the
    misuse of the grand jury process.

    Sincerely,



    Dr. Warren Clark
    (Until Jan. 4,2009 Pastor of First United Church (UCC) of Tampa)
